Case No. 1:14-cv-03074-CMA-KMT Document 1098-1 filed 06/08/18 USDC Colorado pg 1
                                    of 14                                     3
        IN
        FORTHE UNITED STATES  DISTRICT COURT                    1                   IT IS HEREBY STIPULATED AND AGREED by and
        CIVILTHE DISTRICT
              ACTION      OF COLORADO
                     NO. 1:14-cv-03074-CMA-KMT                  2           between the attorneys for the respective parties
                                                                3           hereto that all rights, including the right to object
        X------------------------------------------
        JOHANA PAOLA BELTRAN; et al.,                           4           strike any testimony at this examination, are
                                                                5           reserved.
                       Plaintiffs,                              6                   IT IS FURTHER STIPULATED AND AGREED by and
            -against-                                           7           between the attorneys for the respective parties
        INTEREXCHANGE, INC.; et al.,                            8           hereto that the failure to object to any question, or
                                                                9           to move to strike testimony at this examination,
                       Defendants.
        X------------------------------------------             10          shall not be a bar or waiver to make such motion at,
                                                                11          and is reserved for, the trial of this action.
                                                                12                  IT IS FURTHER STIPULATED AND AGREED that
               EXAMINATION BEFORE TRIAL of CAMILA GABRIELA 13               this examination may be sworn to by the witness being
        PEREZ REYES, as taken by and before MARY A. PAVLIK, a 14            examined before a Notary public other than the
        Shorthand Reporter and Notary Public of the States of   15          Foreign Commissioner of Deeds before whom this
        New Jersey/New York, held at the offices of OGLETREE,   16          examination was begun.
        DEAKINS, NASH, SMOAK & STEWART, P.C., 1745 Broadway, 17                     IT IS FURTHER STIPULATED AND AGREED that
        New York, New York on Wednesday, May 30, 2017,          18          the filing and certification of the original of this
        commencing at 10:15 in the forenoon.                    19          examination shall be and the same are hereby waived.
                                                                20
                                                                21
                                                                22
                        PAVLIK     PROFESSIONAL
                           Certified   Court ReportersREPORTING 23
                                  2
                       Forked River, Dolphin    Court
                                         New Jersey 08731       24
                                     609.242.4003
                       pavlikproreporting@comcast.net           25



                                                               2                                                                     4
   1    A p p e a r a n c e s:                                         1                  THE VIDEOGRAPHER: We are now on the
   2                                                                   2    record. Today is Wednesday, May 30th, at
   3    BOIES   SCHILLER
        Attorneys             FLEXNER,
                    for the Plaintiffs      LLP                        3    approximately 10:15 a.m. This is the deposition for
   4       575  Lexington    Avenue                                    4    Camila Gabriela Perez Reyes regarding Johana Paola
   5    By:New
             JUANYork,
                     P. New   York 10022
                        VALDIVIESO,      ESQ.                          5    Beltran versus Interexchange, Inc., filed in the
   6                                                                   6    U.S. District Court for the District of Colorado,
   7    OGLETREE,
        Attorneys       DEAKINS,
                    for the          NASH,
                             Defendant       SMOAK
                                         American    &   STEWART,
                                                   Institute for  P.C. 7    Docket No. 114-CV-03074-CMA-KMT. We are at
   8    Foreign
           1745  Study
                 Broadwayd/b/a  Au  Pair in America                    8    Ogletree, Deakins, Nash, Smoak & Stewart located at
   9       New   York,  New   York
        By: ROBERT M. TUCKER, ESQ.   10019                             9    1754 Broadway, New York.
   10                                                                  10               My name is Brandon Postlewaite for Pavlik
   11   CHOATE,
        Attorneys    HALL
                    for the &Defendant
                              STEWART,      LLP Care, Inc. d/b/a
                                         Cultural                      11   Professional Reporting and I will be the
   12   Cultural  Care
           2Boston,      Au
             International   Pair
                             Place                                     12   videographer. Will all counsel please state their
   13                MA   02110
        By: LYNDSEY M. KRUZER, ESQ. (VIA TELEPHONE)                    13   appearances and who they represent.
   14                                                                  14                 MR. VALDIVIESO: Juan Valdivieso from
   15                                                                  15   Boies, Schiller & Flexner on behalf of Miss Perez
   16   ALSO PRESENT: BRANDON POSTLEWAITE, Videographer 16                  Reyes and the plaintiffs.
   17                                                                  17                 MR. TUCKER: Robert Tucker with Ogletree,
   18                                                                  18   Deakins, Nash, Smoak & Stewart, PC, representing the
   19                                                                  19   defendant, American Institute for Foreign Study,
   20                                                                  20   doing business as Au Pair in America.
   21                                                                  21                 THE VIDEOGRAPHER: Will the court
   22                                                                  22   reporter, Mary Pavlik, now swear in the witness and
   23                                                                  23   all counsel may then proceed.
   24                                                                  24   CAMILA GABRIELA PEREZ REYE
   25                                                                  25   S, residing at Las Gaviotas 52, Valdivia, Chile,



                                                                                                         Movant's App'x. 000001
Case No. 1:14-cv-03074-CMA-KMT Document 1098-1 filed 06/08/18 USDC Colorado pg 2
                                     21 14
                                    of                                        23
   1    that the first step to be able to join the program          1    did you learn anything else about the program?
   2    was to have an interview with her because she was --        2                    MR. VALDIVIESO: Objection to form.
   3    by the time she was in school learn -- being --             3            A Like, you mean like what the program was
   4    getting a degree to be an English teacher. So she           4    about?
   5    would have to do an interview to see my English             5    BY MR. TUCKER:
   6    level to see if I was able to apply for it. So that         6            Q Yeah. I mean particulars about the
   7    was the -- the -- after that we have that interview.        7    program?
   8    I mean, we still have -- because we -- we were              8            A Well, you -- you -- I knew that she
   9    friends or we were in a group of people that knew --        9    explained me that I had to, you know, work. It was
   10   knew each other, so we have all the kind of                 10   a program that you come to work with the family.
   11   conversation besides all the things. But related to         11   You will -- you know, you live in the house with the
   12   the program, that was the next -- next things that          12   family. And, you know, you get paid every -- every
   13   we talked about, about how to do this interview and         13   week. The -- you know, it's for a year, then you
   14   when and that.                                              14   can extend 6 or 12 months after if you want to.
   15           Q Okay. So the -- did you then have the             15   That you get a vacation, like a week after your
   16   interview with Ms. --                                       16   year. If -- if, you know, the family will pay for
   17           A Yes.                                              17   you to go to school, like $500. You can take a
   18           Q -- Ruiz?                                          18   class and -- it said that you can take classes at
   19           A Yeah.                                             19   any institution, but that's also not true because,
   20           Q Okay.                                             20   you know, to be able to go to school here, you have
   21           A She -- we met at my school in a quiet             21   to ap -- it's not like you -- you walk into, you
   22   place. So she asked me some questions that she had,         22   know, Harvard and say, we are going -- I have $500
   23   you know, like to be able to determinate if my              23   and, you know, I want to take a class. It's not
   24   English was okay or not.                                    24   like that.
   25           Q Okay. And then what happened after that           25           Q Right.



                                                               22                                                                24
   1    interview?                                                  1            A And also the -- I knew by that time -- I
   2            A After the -- so she helped me with that           2    learned the -- the program, you know, that if you
   3    because my English was really bad. I wasn't able            3    complete the credits after you done with school,
   4    to, you know, apply for the program. So she kind of         4    then you will get $200 back, you know, from the --
   5    told me -- you know, she -- she wrote what I told           5    from the agency.
   6    her, but before that she kind of prepared me, you           6            Q Okay. So you said you understood that
   7    know, to answer those questions.                            7    you'd be living with the host family?
   8                  After that she send the information to        8            A Yeah. They will have to provide a
   9    somebody that work with her. And -- and then                9    house -- I mean -- a room for you and -- and a --
   10   they -- they contacted me to -- you know, with the          10   you know, the food that you will -- you were going
   11   documents that I had to fill out, like, you know,           11   to eat.
   12   the experience that I had being a babysitter and            12           Q Did that appeal to you?
   13   they had started the program. But after the                 13                  MR. VALDIVIESO: Objection to form.
   14   interview, she was -- she wasn't -- then I start            14           A I don't understand the question.
   15   talking to the people, Mauricio or the other person.        15   BY MR. TUCKER:
   16   It took me a while to get done with the documents,          16           Q Did you look at that as a -- a positive?
   17   so it was kind of like -- like a long process.              17           A Well, I figure I -- I wouldn't be able to
   18   Like, from June -- I think my application finally           18   afford, you know, to come to work here, I wouldn't
   19   went online in February the next year, so 2011.             19   be able to afford a house or a car, you know. If I
   20           Q Okay.                                             20   needed to go to work every day, it was good -- you
   21           A So from June to -- June 2010 to February          21   know, easier, you know, for them to have me there in
   22   2011, I did all the preparing the documents.                22   the room -- I mean -- in the house because that way,
   23           Q So in between the time when you first             23   you know, I wouldn't take much time going places
   24   spoke with Ms. Ruiz in the program and you began            24   and, you know, I will -- I will be able to help them
   25   completing the documents we were just talking about,        25   if I was just right there.



                                                                                                        Movant's App'x. 000002
Case No. 1:14-cv-03074-CMA-KMT Document 1098-1 filed 06/08/18 USDC Colorado pg 3
                                     61 14
                                    of                                        63
   1    we -- we hang up the call, she wrote me another               1    push you. I'll ask you that question: Did APIA
   2    e-mail saying that she was okay with me not being             2    tell you whom you had to match with?
   3    able to speak because she -- she knew that I would            3            A No.
   4    learn and also the -- the kids, they were bilingual           4            Q Okay. When you were corresponding with
   5    so they would be able to help me if I needed it.              5    Ms. Boehne, did any -- or strike that. Just strike
   6            Q Okay. Did anybody else participate in               6    that.
   7    that phone call with Ms. Boehne?                              7                  You -- you mentioned that the call with
   8            A No. It was just her and me.                         8    Ms. Boehne was very short because at that time, you
   9            Q Okay. And you testified earlier about               9    had difficulty speaking English --
   10   another phone call you had with a different host              10           A Yes.
   11   mom, right?                                                   11           Q -- correct? Okay. Did you have any
   12           A No. She never called me. We just talked             12   substantive discussions with her?
   13   by e-mail.                                                    13           A Not that I remember. She -- I think she
   14           Q Oh, okay.                                           14   said, you know, she wanted -- wanted me to, you
   15           A Yeah.                                               15   know, be the au pair for them. And she just wanted
   16           Q Understood. So you -- did you decide to             16   to make sure that we were able to talk, you know,
   17   match with the Boehne family?                                 17   Skype or by e-mail, yeah.
   18           A Yeah, because for two main reasons: The             18           Q Did you ask Ms. Boehne any questions?
   19   first one was that she wanted me to go in April,              19           A Not that I remember. On the phone call,
   20   that it was a good day for me. And also because               20   you mean, right?
   21   she -- Tom, her husband, he's a pastor. So I -- I             21           Q Yes.
   22   figure, well, being in a Christian family would be            22           A Not that I remember.
   23   easier for me.                                                23           Q So after you matched with the Boehne
   24           Q And why is that?                                    24   family, did you participate in an orientation?
   25           A Because I'm a Christian too.                        25           A When I -- when I came to the U.S., yes.



                                                                 62                                                                 64
   1                  MR. VALDIVIESO: Can we go off the record        1            Q Okay. Can you describe the orientation?
   2    briefly, please?                                              2            A Yes. So the first day we got here to New
   3                  THE VIDEOGRAPHER: We are going off the          3    York and then they took us -- it was a group of
   4    record at 11:53 a.m.                                          4    different girls from different countries, mostly
   5                  (Discussion off the record.)                    5    Colombians and Brazilians, I was the only one from
   6                  THE VIDEOGRAPHER: We are now on the             6    Chile. And they took us to a hotel. And then we
   7    record at 12:04 p.m. This starts DVD No. 2.                   7    start an orientation in a room of the hotel with all
   8                  MR. TUCKER: Mary, could you just please         8    the girls and the person who, you know, will tell us
   9    read back the last question and response?                     9    what, you know, the rules, what to do, what not to
   10                 (Testimony is read.)                            10   do, basic things, you know, about -- a little bit
   11   BY MR. TUCKER:                                                11   about the law, you know, and -- and -- and the
   12           Q Ms. Perez, did APIA have any role in the            12   meaning of, you know, that you are not allowed to
   13   matching process?                                             13   take pictures of the kid and put them -- the kids,
   14                 MR. VALDIVIESO: Objection to form.              14   put them, like, on the Facebook page or anything
   15           A Like, which way? Like, they would push              15   because then -- then you can get in trouble, showing
   16   you to match with a family?                                   16   pictures, you know, of kids that are not yours and
   17                 MR. TUCKER: Well, let me re -- let me           17   someone can get ahold of those pictures and stuff
   18   rephrase.                                                     18   like that.
   19   BY MR. TUCKER:                                                19                 And then they -- and also they teach us,
   20           Q Did they participate in the matching                20   you know, how to resuscitate kid if something
   21   process?                                                      21   happen, to check for fever in case something like
   22                 MR. VALDIVIESO: Objection to form.              22   that happen too. I think it was like basic
   23           A I don't understand your question.                   23   training, you know, of things that you sometimes
   24   BY MR. TUCKER:                                                24   don't know, stuff like that.
   25           Q All right. You asked, you know, did they            25           Q I'm sorry. Just at the end you said



                                                                                                           Movant's App'x. 000003
Case No. 1:14-cv-03074-CMA-KMT Document 1098-1 filed 06/08/18 USDC Colorado pg 4
                                     65 14
                                    of                                        67
   1    "basic training" and I --                                   1            A   New York.
   2             A Yeah. Basic training like to -- things           2            Q   Okay. New York City, is that what you
   3    that you will -- you know, that you will have to do         3    mean?
   4    with the kids. Like, you know, in case they were            4              A Yes.
   5    sick or in case they were -- you know, something            5              Q You said something about a tour?
   6    happens to them, what -- you will have to take them         6              A Yeah. They -- they offer a tour. So in
   7    to the hospital or things like that.                        7    the orientation, you have the op -- they offer you a
   8             Q Were Eileen and Tom Boehne at the                8    tour after, like, the second day. I don't remember
   9    orientation?                                                9    if it's the first day or the second day, you are in
   10            A No.                                              10   the orientation. They offer a tour to take you in a
   11            Q Okay. Was there any discussion at the            11   bus from the hotel to New York, like, from 6:00 p.m.
   12   orientation about how to care for the Boehne                12   to 10:00 p.m. and they take you to the bus. You can
   13   children?                                                   13   pay for it and take it with the other girls.
   14            A Not for like -- it wasn't -- like it was         14             Q And did you take the tour?
   15   like general talking about kids. It wasn't to               15             A No, I didn't.
   16   that -- for them. I remember, though, because the           16             Q How long was the orientation?
   17   kids are -- the kids are adopted, I didn't know at          17             A I -- I'm not sure if it was two days and
   18   the time when I came, I saw the -- I saw the                18   a half or three days and a half, but something
   19   pictures and so they have three kids and the                19   between that.
   20   youngest one -- no, I'm not going to say the names.         20             Q Did it -- did it occur immediately before
   21            Q Oh.                                              21   you joined the Boehne family?
   22            A The youngest one, she -- so the two --           22             A No. It was -- yeah, before. So we came
   23   the first one, the second one, they are white and           23   to the airport -- I left Chile, I came to the
   24   like Americans. And the little one, she looks dark          24   airport. They pick us up at night, like we got here
   25   like me because she is from Guatemala. And I saw a          25   late, so they took us to the hotel the night before.



                                                               66                                                                 68
   1    picture. I thought it was something different, but          1    And then the next morning we started the
   2    I didn't know that they were adopted. And at the            2    orientation.
   3    orientation, they said that usually families that           3             Q Do you know what day you arrived in the
   4    they have adopted kids, they have like -- they are          4    U.S.?
   5    more open with people coming from other countries or        5             A Must have been April, maybe 15 or between
   6    different cultures because of the situation that            6    the 14 and the 15, between like -- it was April. I
   7    they've been through. But at the time, I didn't             7    don't remember -- I don't remember -- remember the
   8    know they were adopted, so that would be the only           8    exact day.
   9    thing that would be related to their kids. But not          9             Q Okay. But April and it was 2011; is that
   10   like exactly, they didn't say their names or                10   the year?
   11   anything like that.                                         11            A Yes. Yeah.
   12           Q You said the orientation occurred in the          12            Q Okay.
   13   hotel, correct?                                             13                 MR. VALDIVIESO: And Mr. Tucker is not
   14           A Yes.                                              14   asking you to speculate. If you don't know, that's
   15           Q Do you know what state?                           15   your answer.
   16           A I don't really know the geographic                16                 THE WITNESS: Oh, okay.
   17   distribution here. But it wasn't close -- it was            17   BY MR. TUCKER:
   18   close from here. I think the name of the town is            18            Q Yeah. If you don't know, you can just
   19   Stanford or -- I don't know if it's Stanford or             19   say "I don't know."
   20   Stamford, but it's something like that. It was a            20            A Yeah. I'm not -- no, I don't remember
   21   Holiday Inn closer to here because then they did the        21   the exact date -- date -- the exact date that I got
   22   tour in New York. I didn't come, but some people            22   here.
   23   did. And we came to JFK Airport, so it must be              23            Q But it's your belief that it was in
   24   close to here.                                              24   April --
   25           Q Okay. And by "here," you --                       25            A It was in --



                                                                                                         Movant's App'x. 000004
Case No. 1:14-cv-03074-CMA-KMT Document 1098-1 filed 06/08/18 USDC Colorado pg 5
                                     73 14
                                    of                                        75
   1            A No.                                              1                 (Bates AIFS0072565 is received and marked
   2            Q And how long did your placement last?            2    Defendant Exhibit Perez-8 for identification.)
   3            A Almost a year. I had to leave a week             3    BY MR. TUCKER:
   4    earlier if -- to complete the exact, you know, 52          4           Q Ms. Perez, the court reporter has just
   5    weeks, that is a year. So I did 51 weeks.                  5    handed you a document marked Perez Exhibit 8. I
   6            Q Did -- before you joined the Boehne              6    want to apologize in advance for the -- the size of
   7    family, did you have a plan for how long you would         7    this document. I understand it's -- it's shrunk
   8    participate in the program?                                8    down, but this is the only version we have of it.
   9            A Yes, a year.                                     9    But I'm going to ask you to just -- to the extent
   10           Q Okay. Just so the record's clear, your           10   you're able to, just to review the document and let
   11   placement with the Boehne family ended in April            11   me know when you've finished.
   12   2012?                                                      12          A Okay.
   13           A Yes. Correct.                                    13          Q Have you seen this document before?
   14           Q Okay. And at that point, did you return          14          A Yeah, I have.
   15   to Chile?                                                  15          Q Okay. What is it?
   16           A Yes. I went back home.                           16          A It's a document -- it's an agreement that
   17           Q And you mentioned that the -- the                17   I signed with the Boehnes explaining some of the
   18   family's home was in Naperville, Illinois; is that         18   rules about the program.
   19   correct?                                                   19          Q Okay. Were you -- strike that.
   20           A Yes. Correct.                                    20                When did you sign it?
   21           Q Okay. During your placement, did you             21          A I don't remember if you ask me, but it
   22   travel outside of Illinois?                                22   says here April 18, 2011, so I guess that's the
   23           A Yes, I did.                                      23   date.
   24           Q Where did you travel?                            24          Q Did you say -- sorry. You said April --
   25           A I came to New York.                              25          A It's the date up here, but I don't know



                                                              74                                                               76
   1             Q For how long?                                   1    if that's the one. There is another date down here.
   2             A Three days.                                     2    It says May 5, 2011.
   3             Q Did you travel to New York with the             3             Q Okay.
   4    Boehne family?                                             4             A It could be -- well, I guess if it's
   5             A No. I came by myself.                           5    signed, I guess that's the right one, May 5th.
   6             Q Was this vacation?                              6             Q I don't -- I don't want you to guess.
   7             A I had -- yeah. I had the weekend off, so        7             A Oh, okay.
   8    I -- I came to visit a friend.                             8             Q So --
   9             Q Okay. Other than New York, did you              9             A Then, no. If -- if you ask me just
   10   travel outside of Illinois to -- any other time            10   about -- I don't know when it was.
   11   during your placement?                                     11            Q Okay. But you do know you signed this
   12            A Yeah. I -- we went to Ohio once.                12   document?
   13            Q When you say "we," you mean you and             13            A Yes. Yeah.
   14   the --                                                     14            Q And that that's your signature there --
   15            A Yeah. With the family, yeah, with the           15            A Yeah. That's my name.
   16   Boehnes.                                                   16            Q Okay. And you're -- okay. Do you know
   17            Q And how long were you in Ohio?                  17   if you signed this document after your placement
   18            A Maybe a week.                                   18   with the Boehne family began?
   19            Q Did you have any other travel outside of        19            A Yes.
   20   Illinois during --                                         20            Q Do you recall how long after?
   21            A Yes.                                            21            A It -- I don't remember how many days
   22            Q -- your placement?                              22   after, but Eileen wasn't in the country when I --
   23            A We went to Costa Rica too.                      23   when I went home. She was in China. So for her to
   24            Q Anywhere else?                                  24   be able to sign it, it must have been after she got
   25            A Not that I can remember.                        25   back. And she got back a week after I -- I went



                                                                                                      Movant's App'x. 000005
Case No. 1:14-cv-03074-CMA-KMT Document 1098-1 filed 06/08/18 USDC Colorado pg 6
                                     10114
                                    of                                        103
   1    times during your placement; is that correct?                1    things through Eileen?
   2            A Uh-hum. Yes.                                       2             A Yeah, probably one time that I can
   3            Q Okay. Does that -- does that include the           3    remember. I don't -- I don't remember one --
   4    cluster meetings?                                            4    like -- like what's it about, what I needed. But
   5            A Yes.                                               5    I -- I remember asking Eileen, you know, do you know
   6            Q Okay. So you think you went to a few,              6    this because I don't know, it was something about
   7    maybe four cluster meetings, so then there were a            7    the program. She said let me talk to Maria, I'll
   8    couple of other contacts with her?                           8    ask her. So she -- I don't know if she called her
   9            A Yeah. When she -- the ones that I                  9    or she e-mailed her. But then she came back to me
   10   remember is when she went -- she went to the                 10   with the answer that I was looking for.
   11   Boehne's house to -- you know, at the beginning to           11            Q But -- and -- and just to make sure I
   12   give me the welcome and tell me the things that, you         12   understood you, you said you don't remember what it
   13   know, I told you before. And after -- when I was             13   was about?
   14   ready to go home and I had to, you know, show the            14            A No.
   15   documents for the credits, I give them to her and we         15            Q You just remember it was something about
   16   talked about, you know, the process of me going back         16   the program?
   17   home. You know, what I had to do to get the tickets          17            A Right.
   18   to go home. You know, I think, I'm not sure but I            18            Q Okay. What were your duties as an au
   19   think I had to sign a document and she gave me a             19   pair?
   20   certificate saying that I -- I was an au pair, so            20            A So it depends on the time that I was -- I
   21   yeah, those were the times.                                  21   was working, like the time -- the hour, time during
   22           Q So that time when you were about to end            22   the day. But mostly was, you know, wake up the kids
   23   the program, that -- that -- did you have a meeting          23   in the morning, give them breakfast, feed them
   24   with her in person?                                          24   lunch, play with them, drive them if they had to,
   25           A Yeah, we met in person because I had to            25   you know, go to activities or in the case of the two



                                                               102                                                               104
   1    give her -- I don't remember if it was the -- the            1    youngest ones, they five-year-old boy and the
   2    time that I gave her the document or -- or if I had          2    four-year-old girl, when I took them to preschool.
   3    to mail the document by myself, but she arranged the         3    Also, I had to clean up after -- you know, with
   4    whole thing. And -- but she came home to the                 4    them. They wanted me to help -- to have them help
   5    Boehne's house once to give me that certificate.             5    me to clean up. You know, they didn't want me to
   6    That was the last time I saw her.                            6    just go behind them picking up stuff. They -- if
   7            Q Did you ever speak with Maria on the               7    they will, you know, play, we will have to do it
   8    telephone during your placement?                             8    together, trying to, you know, teach them to clean
   9            A Not that I remember.                               9    up for themselves.
   10           Q Did you ever attempt to contact her?               10                 I also had to do laundry. Not -- not
   11                  MR. VALDIVIESO: Objection to form.            11   actually putting the laundry in the laundry machine,
   12           A Can you...                                         12   but folding the laundry after it was done. Making
   13   BY MR. TUCKER:                                               13   beds, helping them with homework, mostly with the
   14           Q Rephrase?                                          14   eight-year-old girl because she had -- she was in a
   15           A Uh-hum.                                            15   bilingual program at school. So all the homework
   16           Q Let me ask it slightly different. Did              16   that they send home, it was in Spanish. So she had
   17   you ever reach out to her for help?                          17   to do homework in Spanish. And the idea was for me
   18           A When I had to get the -- to send those             18   to sit with her and do the homework so she would
   19   documents to get the $200 back, that's the one that          19   understand what -- what it said and she would have
   20   I remember. Because most of the time, Eileen --              20   to write the answers in Spanish too.
   21   because they're friends, she -- she will contact her         21           Q You mentioned folding laundry?
   22   if she didn't know the answer for what I needed, but         22           A Uh-hum.
   23   not direct -- not me directly to her.                        23           Q Was that the -- the entire family's
   24           Q Okay. But let's talk about that for a              24   laundry?
   25   minute. Were there times that you asked Maria for            25           A No, just the kids.



                                                                                                        Movant's App'x. 000006
Case No. 1:14-cv-03074-CMA-KMT Document 1098-1 filed 06/08/18 USDC Colorado pg 7
                                     10514
                                    of                                        107
   1            Q And then same question about the beds,             1            Q Okay.
   2    were you making the children's beds?                         2            A It wasn't the same hours every day. It
   3            A Yeah. Just the kids, yeah.                         3    would change, even though Tom was the one who took
   4            Q And you said you would -- you and the              4    care of the kids after I -- I was done because he
   5    kids together would sort -- would clean up --                5    was -- he wasn't working on the time -- at the time.
   6    sorry -- clean up after the kids?                            6    If he had something to do, so my schedule would go
   7            A Uh-hum.                                            7    around, kind of like his schedule. So sometimes he
   8            Q Right, you said that?                              8    would take care of the kids in the morning or at
   9            A Yes.                                               9    night. So my time was -- my schedule was made after
   10           Q Did you do any general household                   10   that.
   11   cleaning?                                                    11           Q Did your duties change -- or strike that.
   12           A No. It wasn't -- I knew -- at -- in the            12                 Did your duties vary by season?
   13   orientation, they also tell you that you -- not that         13           A Can you like...
   14   you are not allowed to do it, but it's not your job          14           Q Yeah. Let me -- let me rephrase that.
   15   to do the full housecleaning. You have to -- your            15   Were your duties different during the summer months
   16   job is to mainly -- to look after the kids, you              16   when the -- the -- the children were not at school?
   17   know, to be -- be with them, take care of them. But          17           A Well, yeah, because we didn't have to do
   18   to clean up is just after them, not the house, the           18   homework. But it was -- it was always the same, you
   19   complete house.                                              19   know, take care of them, watch them if they are
   20           Q Did the Boehnes ever ask you to do any             20   playing, play with them. It was -- the only thing
   21   general cleaning?                                            21   that I would say was different is just that we
   22           A No.                                                22   didn't have to do homework, but that was the only
   23           Q Did the Boehnes ever ask you to do                 23   thing.
   24   anything that wasn't involved with taking care of            24           Q The eight-year-old girl, you said, was in
   25   their children?                                              25   a bilingual program at school?



                                                               106                                                               108
   1            A   No. It was -- always was related with            1            A When -- yeah. And then the five-year-old
   2    them.                                                        2    boy joined that program when he was in kindergarten.
   3             Q You mentioned a minute ago that your              3            Q Okay. So was it -- I was just a little
   4    duties changed. Can you elaborate on what you meant          4    unclear about your testimony. Was it part of your
   5    by that?                                                     5    job to help teach them Spanish?
   6             A Well, it depends on, you know, what time          6            A Yes.
   7    during the day was -- I was taking care of the kids.         7            Q Okay. Did you help teach the four-year-
   8    Because if I start, you know, working in the                 8    old girl Spanish?
   9    morning, by bedtime I wasn't taking care of the              9            A Yeah.
   10   kids. So I didn't have to put them, you know, to             10           Q But not as part of a school -- school
   11   bed. But if I started working later, like, you               11   program?
   12   know, noon or something, it would have to be, you            12           A No. The idea was for me to speak to them
   13   know, a different kind of thing. If -- you know, do          13   in Spanish, to sing them songs in Spanish, and
   14   homework. If they got back from school or, you               14   things like that. Then they will, you know, kind of
   15   know, put them into bed, pray with them, brush               15   keep up, you know, trying to learn new words and
   16   teeth, showers and bath, so it depends on what time          16   things like that. Not like a program that they
   17   of -- of -- during the day was that I was working.           17   would have -- it would be, you know, wrote it down.
   18   They were different things to do with them.                  18   They would have to follow things to -- to be able to
   19            Q Okay. So --                                       19   teach them. It was just like a casual conversation
   20            A That's what I meant by "changing."                20   thing.
   21            Q Okay. So if I understand what you're              21           Q Did you notice an improvement in their
   22   saying is, it really depends on what hours --                22   Spanish over the course of your placement?
   23            A Yeah.                                             23           A I'll say with the youngest one, yes, with
   24            Q -- you were -- you were working?                  24   the four-year-old girl.
   25            A Right.                                            25           Q How did you know what your duties were?



                                                                                                        Movant's App'x. 000007
Case No. 1:14-cv-03074-CMA-KMT Document 1098-1 filed 06/08/18 USDC Colorado pg 8
                                     10914
                                    of                                        111
   1             A They were described to me before --                 1                   MR. VALDIVIESO: Objection to form.
   2    before I became an au pair.                                    2            A Can you rephrase that?
   3             Q And who described them?                             3    BY MR. TUCKER:
   4             A Eileen did.                                         4            Q Did. How about -- yeah. Did the Boehne
   5                    Oh, and also, when -- when I got home,         5    family set any rules for you?
   6    because Eileen wasn't home, she was in China and --            6            A In the context of the kids or in general?
   7    and former au pair they had, she -- she got married            7            Q In context with your placement in
   8    in -- in Illinois. And she's from Peru so she                  8    general?
   9    speaks Spanish. She -- she came home -- came one --            9            A Well, yes. I couldn't -- I wasn't able
   10   like one or two days to -- you know, to try and                10   to wear -- to use perfume because one of the kids
   11   train me in what to do with them and the things that           11   was allergic to the fake fragrances. And the same
   12   they like and that they don't like and how she did             12   with the -- it was perfume, shampoos, and lotion
   13   things, you know, to -- so it would be easier for me           13   that I couldn't use. And if -- they ask -- they
   14   to start working with the kids.                                14   told me that if I wanted to use the car, I would
   15            Q Okay. But it's a -- this was a former --            15   have to ask first every time that I want to use it,
   16            A Yes. She --                                         16   so the car would be available if I needed it, if --
   17            Q -- au pair of the -- let me just finish.            17   if I need to go somewhere, so they will, you know,
   18   A former au pair of the Boehne family?                         18   let me use the car.
   19            A Yes.                                                19           Q Are you talk -- so you said that you
   20            Q Do you know if she was working for Au               20   drove as part of your duties. Are you talking about
   21   Pair in America?                                               21   using the car for your duties?
   22            A No, she wasn't.                                     22           A No, for my free time.
   23            Q She was not?                                        23           Q Okay. Did you have, like, a child care
   24            A No.                                                 24   schedule during your placement?
   25            Q Okay. Did anyone from Au Pair in America            25           A Can you rephrase it?



                                                                 110                                                               112
   1    tell you what your duties with?                                1              Q Were there certain days and times when
   2            A In the orientation. In general aspects               2    you were expected to perform your duties?
   3    because they -- they can -- they can't tell you                3              A Yeah. You are -- you have to work during
   4    exactly, you know, what family -- each family needs.           4    the week and also you have to -- you have one
   5    But they said that, you know, you -- all the                   5    Saturday off a month. It have to start from Friday
   6    responsibility is to, you know, take care of the               6    afternoon. So you have Friday afternoon -- I mean,
   7    kids. If -- if the family wants you to, you know,              7    Friday -- Friday evening, like at nighttime, after
   8    give them bath, then you do it. If they don't want             8    dinnertime, and then you have Saturday and Sunday
   9    you because, you know, all the problems sometimes              9    off. It -- that was -- that happens once a month.
   10   they are with the abuse or something, so you have to           10   It's -- it's something that the family has to
   11   get the permission from -- from them to do it. You             11   follow. But -- and my work time was based on the
   12   know, then you have to give them lunch, wake up in             12   needs of the family. So if they needed me to, you
   13   the morning before they woke up so you would be                13   know, work Saturdays and Mondays or, you know,
   14   ready. So if you had to start, you know, working at            14   Monday through Saturday, a few hours every day to
   15   7:00, you would have to get up a little bit earlier            15   complete 45 hours, then that's what I had to do.
   16   so you would be ready for the job by the time that             16             Q So your hours varied?
   17   they wake up. It was just like general information.            17             A Yeah, depending on the needs of the
   18           Q And did Ms. Boehne provide more specific             18   family.
   19   information?                                                   19             Q Actually, let me rephrase that. Well,
   20           A Yes.                                                 20   we'll keep that. But did you -- how -- how did you
   21           Q Did anyone from APIA ever observe you                21   know when you'd be working or performing child care
   22   performing your duties?                                        22   on a -- on a particular day?
   23           A No.                                                  23             A I got on a -- a schedule. Eileen, she
   24           Q Did you have any rules during your                   24   would put it on the fridge every Sunday night. So I
   25   placement?                                                     25   would take it every night and then I will, you know,



                                                                                                          Movant's App'x. 000008
Case No. 1:14-cv-03074-CMA-KMT Document 1098-1 filed 06/08/18 USDC Colorado pg 9
                                     11314
                                    of                                        115
   1    see when I had to work. So it was there so everyone          1    the rest of the day, what happened the rest of the
   2    knew when I was working or not.                              2    day?
   3            Q Okay.                                              3             A Well, then I -- I will -- you know, they
   4            A And that change in the summer, because in          4    had to take showers to get the chlorine water off
   5    the summer, the kids, they weren't in school, so I           5    their bodies. Then we had lunch. We usually play a
   6    had to be with them. It was mostly the same through          6    little bit at home, take like a little break, a
   7    the summer, from 8:00 p.m. in the morning to 5:00            7    rest. And then I would, you know, take them to the
   8    p.m. every day.                                              8    park. There were a few parks around the block, so
   9            Q Okay. Let me just talk about that for a            9    take different -- them to different ones. And then
   10   second. You said it was -- the schedule -- the               10   sometimes they wanted to go back to the pool to play
   11   weekly schedule was mostly the same in the summer?           11   with their friends. So I would take -- I would take
   12           A Yes.                                               12   the three of them over to the pool and I will stay
   13           Q Okay. And you said it was 8:00 p.m. to             13   there at the pool. I didn't get in the water all
   14   5:00 p.m.?                                                   14   the time, but a few times I did get in the water
   15           A That's what I remember, yes.                       15   with them, but I would have to be at the pool
   16           Q And that's Monday through Friday?                  16   watching them the whole time while they were playing
   17           A Yes. I think so, yeah.                             17   there.
   18           Q And then you didn't work on the weekends?          18            Q You said that they would rest?
   19           A No, because I think if you count the               19            A Yeah. Like, you know, like kind of calm
   20   hours from 8:00 in the morning to 5:00 p.m. for five         20   down. Like, you know, sit down and read a book or
   21   days a week, then it's 45 hours, I think so. If --           21   just -- they would play, each one, you know, with
   22   if it wasn't, then I did the rest of the hours on            22   toys, not all together because they were different
   23   Saturday morning, but I always did my 45 hours a             23   ages, so sometimes it was hard to get to a point
   24   week.                                                        24   where they all want to play the same thing.
   25           Q Okay. At the -- just talking now about             25            Q Did they ever nap?



                                                               114                                                               116
   1    the summer --                                                1            A The youngest one, the four-years-old, she
   2            A Okay.                                              2    did sometimes when she was tired. Not every time,
   3            Q -- schedule. At the beginning of your              3    not every day, but she did a few times. It was --
   4    day at 8:00 a.m., what happened? How did you start           4    she wasn't supposed to nap, actually, but she would
   5    the day?                                                     5    fall asleep on the couch, you know, so I would let
   6            A So first of all, I had to get -- get the           6    her sleep for, like, 10, 15 minutes and then I would
   7    kids breakfast. And then get -- get them ready               7    wake her up. Otherwise, then it was impossible for
   8    for -- go to the pool. They took swimming lessons.           8    her to go to sleep later.
   9    The pool was just in the backyard, so I had to, you          9            Q But not the other two?
   10   know, get the swimsuits and the goggles and the --           10           A No, the other two didn't.
   11   the towels, walk them to the pool. And they have --          11           Q So at -- while you're taking care of the
   12   the three of them, they have different hours. So             12   children, would Mr. Boehne be around?
   13   the oldest ones went first. Then the -- the                  13           A Sometimes.
   14   middle -- the eight -- no. Five-year-olds boy, he            14           Q Did he ever help you take care of the
   15   went second. And then the four-year-old, she wasn't          15   children --
   16   at swimming lessons by the time. So I will walk --           16           A No.
   17   I will walk with the other two to the pool, leave            17           Q -- between 8:00 a.m. and 5:00 p.m. in the
   18   the one in the pool, go back home, then get the              18   summers?
   19   other one ready, take that one to the pool, get the          19           A No. It was -- they -- the kids knew and
   20   other one back home with the other two, and so --            20   Tom and Eileen knew that if I was working, they
   21   and then back home to spend the rest of the day.             21   always told the kids, if Camila is, like, downstairs
   22           Q And then -- okay. So then you -- you               22   or in the house around you, it's because she is in
   23   were scheduled until 5:00 p.m.?                              23   charge. So whatever they needed, it was me that
   24           A Uh-hum. Yes.                                       24   they needed to come to. And so even if Tom was
   25           Q So -- so once you say you were back home           25   around, they -- the kids weren't allowed to go to --



                                                                                                        Movant's App'x. 000009
Case No. 1:14-cv-03074-CMA-KMT Document 1098-1 filed 06/08/18 USDC Colorado pg 10
                                     11714
                                     of                                       119
   1    you know, to go to their parents and ask them for               1             Q So you said it was -- it was posted.
   2    something or -- because I -- I -- I was the one who             2    Where was it posted?
   3    made all the decisions by the time that I was                   3             A On the -- it was a -- she would do like a
   4    working.                                                        4    paper, like a printed paper and she would put it on
   5            Q In the summer when you had this 8:00 a.m.             5    the fridge. So Tom -- mostly -- it mostly was for
   6    to 5:00 p.m. schedule, were you ever -- strike that.            6    Tom to know when I was working or not, because he
   7                 Did -- did -- during the summer between            7    will, you know, be in his room praying or preparing
   8    the hours of 8:00 a.m. and 5:00 p.m., did you ever              8    a sermon or something. And then he will, you know,
   9    perform duties outside of those hours?                          9    be -- he would have to come downstairs and start
   10           A Not that I remember.                                  10   taking care of the kids when I was done.
   11                THE VIDEOGRAPHER: Excuse me, counsel,              11            Q Do you have a copy of any of those
   12   but in five minutes, I just have to change the DVD.             12   schedules?
   13   Okay?                                                           13            A No.
   14                MR. TUCKER: Okay. Thank you.                       14            Q Do you know if they were saved?
   15   BY MR. TUCKER:                                                  15            A I don't think so.
   16           Q Okay. Now we are going to shift away                  16            Q Did you ever track the actual numbers of
   17   from the summer and talk about the non-summer                   17   child care that you provided?
   18   months.                                                         18                  MR. VALDIVIESO: Objection to form.
   19           A Uh-hum.                                               19            A What do you -- can you rephrase that?
   20           Q Did your schedule vary on a week-to-week              20   BY MR. TUCKER:
   21   basis during the non-summer months?                             21            Q So what I mean is: Did you ever count?
   22           A Yes. It wasn't the same all the time.                 22   Did you ever like count up the number of hours you
   23   Maybe a few weeks it will be the same, but then                 23   were taking care of the children?
   24   depending on what Tom what -- had to do and also                24            A So when I got the schedule Sunday nights,
   25   Eileen, she traveled twice a year to China, so that             25   I will look at it and count how many hours there



                                                                  118                                                               120
   1    made a huge difference between those weeks and when             1    were on the schedule. And they were always 45.
   2    she wasn't home.                                                2    Eileen, she is really good with numbers, so she will
   3            Q Okay. But the schedule, you said, would               3    never make me work extra or less. So it was just
   4    be posted on a Sunday --                                        4    always 45. I don't know how many hours I did during
   5            A Yeah.                                                 5    the whole time because I -- I didn't kind of have a
   6            Q -- night?                                             6    list of every week. But I always check if the hours
   7                  Did -- did you and Eileen -- well, strike         7    on the schedule were 45 hours.
   8    that.                                                           8             Q Did you ever work fewer than the number
   9                  Who created the schedule?                         9    of hours you were scheduled for?
   10           A She did.                                              10            A Not that I remember.
   11           Q Okay. Did she consult with you about                  11            Q Do you know if the Boehne family ever
   12   creating it?                                                    12   counted the number of hours you were working?
   13           A No. She was the one who decided what                  13            A I don't know.
   14   time she needed me to work.                                     14                 THE VIDEOGRAPHER: Counsel, I do have to
   15           Q Okay.                                                 15   go off the record --
   16           A If -- if I needed some time, like if --               16                 MR. TUCKER: Okay.
   17   if I wanted to, you know, do something or if I had              17                 THE VIDEOGRAPHER: -- just for a brief
   18   plans, I could, you know, ask her if we could change            18   two minutes. Okay?
   19   the schedule time. But if she -- if -- it was                   19                 (Discussion off the record.)
   20   always in the case that she could change it. If I               20                 THE VIDEOGRAPHER: We are now on the
   21   could ask, but the answer wouldn't have been yes all            21   record at 2:26 p.m. This begins DVD No. 3.
   22   the time.                                                       22   BY MR. TUCKER:
   23           Q Do you know if -- if Au Pair in America               23            Q So Ms. Perez, can you -- can you talk
   24   ever participated in setting your schedule?                     24   about your duties over the course of the day during
   25           A Not that I know.                                      25   the non-summer months? Similar to how we discussed



                                                                                                          Movant's App'x. 000010
Case No. 1:14-cv-03074-CMA-KMT Document 1098-1 filed 06/08/18 USDC Colorado pg 11
                                     12114
                                     of                                       123
   1    earlier, the duties during the summer months.                   1    to-day?
   2            A Oh, okay. So if I was working in the                  2            A Can you rephrase that?
   3    morning, I will have to get the kids ready for                  3            Q Yeah. So we talked about how -- well,
   4    school. You know, that means get -- helping get                 4    actually we didn't talk about this. Let me get back
   5    dressed because the two youngest ones, they were --             5    to that in a minute.
   6    they had trouble, you know, finding clothes that --             6            A Okay.
   7    that would match or their proper clothes for the                7            Q During the non-summer months, were you
   8    weather. Then I would have to give them breakfast,              8    working Monday through Friday?
   9    brush teeth or they brush their teeth by themself,              9            A And Saturdays.
   10   but tell them to do it. Get the backpacks ready                 10           Q And Saturdays. Okay. And that was
   11   with lunch and all the things that they needed for              11   consistent throughout those months?
   12   the day. And then they would -- it -- it depend on              12           A It depends on which -- it depends on
   13   the time of the year, because the five-year-old boy,            13   Tom's schedule.
   14   he went -- at the beginning, he went to school in               14           Q Okay.
   15   the morning, but then he went to school at -- at the            15           A Because as I said, that -- that schedule,
   16   afternoon. So in -- at the beginning, the four-                 16   it change in -- in related to what he had to do. So
   17   year-old girl, she went just two times a day -- I               17   if he had to do something then, you know, I will put
   18   mean, two times a week to school. So it will depend             18   them in bed and he will wake up in the morning and
   19   on which kid I had with me in the morning or in the             19   take care of them in the morning. So it will -- it
   20   afternoon.                                                      20   depend -- it wasn't the same every day and it wasn't
   21                 But it was -- you know, we would play and         21   the same every week, so yeah, it changed.
   22   put laundry away. They would have to be next to me              22           Q Did the Boehne family provide you with a
   23   by the time that I did that. And then if -- you                 23   private bedroom throughout your placement?
   24   know, then the other one will come back home, do                24           A Yes.
   25   homework and then play. And if -- at night I had                25           Q Did you ever have to share your bedroom?



                                                                  122                                                               124
   1    to -- you know, if -- if it was the day, give them a            1             A Yes.
   2    shower or prepare them for bed, get pajamas ready,              2             Q With whom?
   3    pray, and then get the stuff ready for the next day.            3             A So during the summertime, the family came
   4             Q On the days in which the four-year-old               4    over, her -- Eileen's brother. And so they --
   5    girl was at preschool, those were -- that was two               5    they -- it was four of them, so she asked me if I
   6    days a week, right?                                             6    share my room with one of the kids.
   7             A Yes.                                                 7             Q And how many days was that?
   8             Q If I understand correctly, when the --               8             A I'm not sure how many. If you ask me a
   9    the four-year-old girl was at preschool, there would            9    number, I'll say four, but it's not -- I'm not sure.
   10   be no children --                                               10            Q Less than a week?
   11            A Yes.                                                 11            A Yes.
   12            Q -- in the home, correct?                             12            Q And were there any other times when you
   13            A Yeah. That wasn't count as my -- my time             13   were asked to share your room?
   14   working.                                                        14            A No. The kids -- the youngest one, she
   15            Q Okay. So that wasn't part of your                    15   always -- the four-year-old girl, she always wanted
   16   schedule?                                                       16   to sleep with me. But they didn't let her do it
   17            A No. I -- I will have, like, a gap in                 17   because I wasn't -- she will, you know, push me
   18   between. So I'll say -- I'll start 7:00 in the                  18   or -- so I wouldn't get like a good sleep. I did
   19   morning and then I will drop them off at preschool              19   let her sleep with me on the weekends a few times.
   20   in the morning. Then I would have a gap to -- and               20   I'll say four times, but not that often.
   21   it will start by the time that I would have to get              21            Q Did the Boehne family provide you with
   22   ready and go pick them up at preschool. And then                22   three meals each day throughout your placement?
   23   I -- it will continue to -- to the rest of the day.             23            A Yes.
   24            Q Okay. And did the number of hours that               24            Q Did you have enough food?
   25   you were performing your duties each day, vary day-             25            A Yeah. I was able to get whatever I



                                                                                                          Movant's App'x. 000011
Case No. 1:14-cv-03074-CMA-KMT Document 1098-1 filed 06/08/18 USDC Colorado pg 12
                                     12514
                                     of                                       127
   1    needed. If -- you know, if I was hungry, I would             1    something with the accounting or the bank, it was
   2    eat. It wasn't any restriction for me to eat                 2    easier for her to do $200 than the other amount,
   3    anything in the house.                                       3    that's the reason. I knew that it was 100 --
   4            Q Remember we were talking earlier about a           4    $195.75.
   5    stipend. Do you remember that?                               5            Q When you say "the website," what website
   6            A I remember the word. I don't remember              6    are you referring to?
   7    what it means.                                               7            A The Experiment website. And also at the
   8            Q Okay. Weekly payment?                              8    orientation, they tell you what the weekly payment
   9            A Oh, okay.                                          9    is.
   10           Q Let's, for the sake of being clear, I'll           10           Q Okay. But my -- my question was: Who
   11   just call it payment. Okay?                                  11   set --
   12           A Yeah. Okay.                                        12           A The 200?
   13           Q So did the Boehne family provide you with          13           Q -- the -- the payment amount? Yeah. Who
   14   a payment each week?                                         14   determined it? Do you know what I mean by
   15           A Yes.                                               15   "determined"?
   16           Q Did anyone other than the Boehne family            16           A Well, Au Pair in America did.
   17   provide you with a weekly payment?                           17           Q Okay. And just so the record's clear,
   18           A No, just -- just the Boehnes. But the              18   what -- what is the amount that was set then?
   19   agency, Au Pair in America, gave me $200 after I was         19           A The amount is $200 that she pay me. But
   20   done with the credits of the college.                        20   the amount that is set by Au Pair in America is
   21           Q Who paid the payment or who made the               21   $195.75.
   22   payment?                                                     22           Q Okay. And you said the Experiment
   23           A Eileen gave an order to the bank to wire           23   website said 195.75 --
   24   transfer me every Friday afternoon, $200 to my bank          24           A Yes.
   25   account.                                                     25           Q -- is that correct? Okay.



                                                               126                                                                 128
   1           Q Did you ever not receive a weekly payment           1                  And then you said during orientation you
   2    during your placement?                                       2    were told it was 195.75?
   3           A Yeah, one time. It was because it was a             3             A Yes.
   4    holiday and the bank wasn't working, so something            4             Q Who told you during the orientation that
   5    happened with the system. They didn't do it, so I            5    this -- the weekly payment was 195.75?
   6    had to wait until the next Monday, so the deposit            6             A The lady who did the orientation.
   7    came through to my account.                                  7             Q Do you know her name?
   8           Q Meaning it was supposed to be there on a            8             A No.
   9    Friday and it came --                                        9             Q Do you recall exactly what she said about
   10          A -- on a Monday.                                     10   the weekly payment?
   11          Q Okay. And it was just that one time?                11            A She said that we -- we receive a payment
   12          A Yeah, it was because it was a holiday.              12   every week and the -- the family will -- will pay
   13          Q And it was always via bank transfer?                13   that because that what is the payment set by the
   14          A Not at the beginning because I didn't               14   agency.
   15   have a bank account when I came here. And I needed           15            Q Did she say you couldn't receive more
   16   my Social Security number to be able to get a bank           16   than 195.75?
   17   account. As told you, it took longer because of my           17            A Not that I remember.
   18   name. So I'll say the first three or four weeks,             18            Q Back to the Experiment website. You said
   19   she would pay me cash.                                       19   you saw 195.75 there, right?
   20          Q Did the amount of your weekly payment               20            A Uh-hum.
   21   ever change?                                                 21            Q Do you recall exactly what was said about
   22          A No. It was always $200.                             22   the payment?
   23          Q $200. And how was that amount set?                  23            A It said that you will get a -- a once-a-
   24          A Set? Oh, so on the -- on the website, it            24   week payment for that amount. And that it would be
   25   said that it's $195.75. But she said that it's               25   paid by the family.



                                                                                                         Movant's App'x. 000012
Case No. 1:14-cv-03074-CMA-KMT Document 1098-1 filed 06/08/18 USDC Colorado pg 13
                                     12914
                                     of                                       131
   1             Q Did it say on the website that you                1    I -- I was join the program, I already knew what the
   2    couldn't receive more than 195.75?                           2    payment was, so I didn't feel like I would have to
   3             A No, it doesn't say that.                          3    ask again.
   4             Q Do you recall seeing any information              4             Q Have you ever seen the $195.75 weekly
   5    about the stipend -- strike that. We're not using            5    payment amount referred to as a minimum amount in
   6    "stipend."                                                   6    any APIA documents?
   7                 Do you recall seeing any information            7             A Can you rephrase that?
   8    about the weekly payment in other Au Pair in America         8             Q Yeah. Do you know what I mean by
   9    materials?                                                   9    "minimum"?
   10            A In the documents that they give you at            10            A Yeah.
   11   the orientation, it says, you know, they -- they             11            Q Okay. So what I'm asking is if in any
   12   give you a package with paper. That's where that             12   APIA documents you saw that amount, that 195.75,
   13   list of names there we discussed before, it's --             13   referred to as a minimum amount, meaning that you
   14   it's here. The No. 7, Perez No. 7 Exhibition, that           14   could pay more than 195.75, but that 195.75 was the
   15   list came with a package of documents saying, you            15   minimum you could pay?
   16   know, the payment and the $500 that you will get to          16                  MR. VALDIVIESO: Objection to form.
   17   go to college, the family will pay.                          17            A Can you -- it said on the -- on the
   18            Q Did you ever discuss the payment amount           18   documents that we got at the orientation that that
   19   with Ms. Ruiz?                                               19   was the payment. It didn't say it was the minimum
   20            A She told me the -- the amount -- the              20   or the maximum if -- it didn't say that. It just
   21   amount was not $195.75.                                      21   said that was the payment. So I understood that
   22            Q Is that in your initial discussion with           22   that was what I was going to get.
   23   her about the program?                                       23   BY MR. TUCKER:
   24            A I'm not sure.                                     24            Q Okay. But you, in fact, received $200 a
   25            Q Okay. Did you understand what I meant by          25   week, right?



                                                               130                                                                132
   1    "initial"? Do you want me to rephrase that?                  1             A Yes.
   2            A Yes.                                               2             Q So isn't it fair to say that at least for
   3            Q Okay. What I meant is when -- you                  3    you, that the 195.75 was a minimum amount since you
   4    testified earlier that when you were volunteering            4    received $200 each week?
   5    with Ms. Ruiz, that's when you first learned, you            5                   MR. VALDIVIESO: Objection to form.
   6    had a conversation, you first learned about the au           6             A Do you think 5 -- well, it's not your
   7    pair program. So my question pertains to that                7    opinion, but I don't think $5 it would make a big
   8    conversation with her. So my -- my question is:              8    difference in a, you know, weekly basis. I mean,
   9    During that conversation, did Ms. Perez say anything         9    what do you do with $5? So I -- I -- I didn't feel
   10   about the stipend?                                           10   lucky, like if I compare with the other au pairs. I
   11           A Miss Ruiz, you mean?                               11   just -- Eileen explain it to me at the beginning,
   12           Q Sorry. Miss Ruiz.                                  12   that it was just like an accounting thing, why she
   13           A Yes. She -- so when she explained to me            13   did it. It wasn't because she wanted -- she felt
   14   how the program work, she told me that, you know,            14   like it was too little what she was paying me. It
   15   you get pay every week the amount that we already            15   was -- that was the only reason why she pay me $200,
   16   talked about.                                                16   because it was an -- an account problem or -- I
   17           Q Okay.                                              17   don't know, problem, but it was easier. And -- but
   18           A The $195.75.                                       18   I didn't feel lucky. I mean, it's not a big
   19           Q Did she tell you that you could not                19   difference.
   20   receive more than 195.75?                                    20   BY MR. TUCKER:
   21           A Not that I can remember.                           21            Q No, I understand what you mean. And I --
   22           Q Did you have any discussions with                  22   and I'm -- and I'm not suggesting that you should
   23   Mauricio about the stipend?                                  23   feel lucky or anything. I guess what I'm asking is,
   24           A Not that I remember because the                    24   is if you were paid $200 --
   25   information was -- at that point, you know, when             25            A Yes.



                                                                                                         Movant's App'x. 000013
Case No. 1:14-cv-03074-CMA-KMT Document 1098-1 filed 06/08/18 USDC Colorado pg 14
                                     13314
                                     of                                       135
   1             Q Right. Who decided to pay you $200?               1            A The thing is, I have a close relationship
   2             A Eileen did because she -- she knew that           2    with them and I have been with them other Christmas
   3    she had to pay me 195 and 75 cents, but it was               3    and other birthdays, so they have gave me after
   4    easier for her to pay me $200. So that's why she             4    the -- all the presents. So I -- I can't tell which
   5    did it, she decided to pay me $200.                          5    one was which.
   6             Q Did you ever ask Eileen to pay you more           6            Q Got you. So it's hard to remember which
   7    than $200?                                                   7    --
   8             A No.                                               8            A Yeah. I don't -- I mean, it was seven
   9             Q Aside from the -- the weekly payment that         9    years ago. I don't remember what it was.
   10   we've been discussing the last several minutes, did          10           Q Understood. You mentioned that you were
   11   you receive any other monetary payments from the             11   able to use the Boehne car for personal purposes?
   12   Boehne family during your placement?                         12           A Yes.
   13            A No.                                               13           Q Okay. Did you just need to have prior
   14            Q So you never received a bonus?                    14   permission?
   15            A No.                                               15           A Yes.
   16            Q Do you know what I mean by -- do you know         16           Q Okay.
   17   what overtime is?                                            17                  MR. VALDIVIESO: I'm going to -- I'm
   18            A Yeah, like when you work extra the 45             18   going to leave an objection to form. It might be
   19   hours.                                                       19   too late, but I'm going to leave it anyways.
   20            Q Did you ever receive extra pay for extra          20   BY MR. TUCKER:
   21   child care?                                                  21           Q When you used the car for personal
   22            A I did -- one -- I remember one time I did         22   purposes, did you pay for the gasoline?
   23   two hours extra because something happened and Tom           23           A Yes.
   24   couldn't get back home in time, she had to pay me            24           Q Is that every time you used it?
   25   those hours that I worked extra. And she paid me             25           A Yeah. I had to -- so when I used the



                                                               134                                                                136
   1    those cash because the bank account will send me the         1    car, I will, you know, see where the line for the
   2    $200, but that was only one time.                            2    gas was. So after -- it was a gas station just
   3            Q Okay. How much did she pay you that one            3    around the corner from the house or close to it, so
   4    time?                                                        4    I will -- you know, when I was on the way home, I
   5            A $10 because it was two hours, so it was            5    would park, get the gas, and get the line where it
   6    like for...                                                  6    was when I took the car, so...
   7            Q $10 total?                                         7              Q Did the Boehne family provide you with a
   8            A Yeah, for two hours.                               8    cell phone during your placement?
   9            Q Do you know if there's anything in the --          9              A Yes.
   10   in the au pair program rules about extra payments,           10             Q Okay. Did you use the cell phone for
   11   aside from the weekly payment?                               11   personal purposes?
   12           A I remember they said something about               12             A Yes, to call my friends.
   13   extra time, but I don't remember what exactly they           13             Q Okay. Did you use it for -- you know, as
   14   say, if you were allowed or not to do it. I really           14   part of your duties as well?
   15   don't -- this occasion was because it was an                 15             A Yeah. The -- the reason why they give me
   16   emergency. So I think it wasn't something that you           16   the phone, it was because if I needed -- she needed
   17   could do, otherwise we would have done it more.              17   to contact me, you know, if I was out with the kids
   18           Q Did you receive any gifts from the Boehne          18   or there was an emergency, I was able to have a
   19   family during your placement?                                19   phone so I could call her or she could call me. But
   20           A Yes.                                               20   that was the reason why they give it to me. It
   21           Q What did you receive?                              21   wasn't just to enjoy, you know, to have a phone.
   22           A I don't remember. It was for Christmas             22   She -- it was part of the family plan -- family
   23   and, you know, birthday.                                     23   plan, so she added another line for me.
   24           Q You said you don't recall individual               24             Q And -- and she, Ms. Boehne, paid for that
   25   gifts?                                                       25   line?



                                                                                                        Movant's App'x. 000014
